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                                                                                           August 16, 2018

   Honorable Judge Wettre
   Martin Luther King Bldg and US Courthouse
   50 Walnut St
   Newark, NJ 07101



   Re: _Gerval v Gonzalez__

   Dear Judge Wettre:



                                                                    Docket #: 17-cv-12179
    After the conference call that we had today I noticed that the date we set for
    September17 is not available for me.

    I am going to be with my family celebrating the Holidays and also have been apprised
    that a hearing is also set for September 24 in France on this matter. Therefore I would
    appreciate it if the Court would reschedule the date for a time after October 10th. I am
    willing to initiate another conference call for the Court. We need to pick a date with
    him on the phone.

    Additionally, my associate Rich Min , who was admitted Pro Hac Vice on this matter
    with me, is not available on that date as well.

    I would appreciate the Court allowing us to pick another date after October 10th.

    Thank you for your courtesies,
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                                              Respectfully yours,

                                              ______S/___________________
                                              Robert D. Arenstein, Esq.




    CC:
    Patricia Apy Esq.
    Kristy Lipari, Esq.
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